                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



  IN RE FOREIGN EXCHANGE                             No. 1:13-cv-07789-LGS
  BENCHMARK RATES ANTITRUST
  LITIGATION



     [PROPOSED] ORDER APPROVING THE FOURTH DISTRIBUTION OF THE
                         SETTLEMENT FUND

       WHEREAS, on March 8, 2019, this Court approved payment of an initial distribution of

$54,006,248.60 from the Settlement Fund (ECF No. 1230) (the “Initial Distribution”) to 26,937

Authorized Claims (“Initial Distribution Claims”);

       WHEREAS, on November 29, 2021, this Court approved payment of a second distribution

of $435,114,487.03 from the Settlement Fund (ECF No. 1633) (the “Second Distribution”) to

22,904 Authorized Claims (“Second Distribution Claims”);

       WHEREAS, on July 11, 2022, this Court approved payment of a third distribution of

$270,951,068.24 from the Settlement Fund (ECF No. 1698) (the “Third Distribution”) to 2,031

Authorized Claims (“Third Distribution Claims”);

       WHEREAS Plaintiffs, by and through their counsel, Scott+Scott Attorneys at Law LLP

and Hausfeld LLP (“Class Counsel”), have moved this Court for entry of this [Proposed] Order

Approving a Fourth Distribution of the Settlement Fund, and the Court, having considered all

materials and arguments submitted in support of the Motion, including the Declaration of Charles

Marr (the “Marr Declaration”) and Memorandum in Support of Plaintiffs’ Motion for Entry of an

Order Approving a Fourth Distribution of the Settlement Fund submitted therewith;

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
       1.      This Order incorporates by reference the definitions in the Stipulations and

Agreements of Settlement filed in this Action (ECF No. 481, Exs. 1-9; ECF No. 822, Exs. 1-5;

ECF No. 877, Ex. 1) (the “Settlements”), and all capitalized terms, unless otherwise defined herein,

shall have the same meanings as set forth in the Settlements or the Marr Declaration.

       2.      The Court has jurisdiction over the subject matter of the Action and over all the

parties to the Action, including all Settlement Class Members.

       3.      Plaintiffs’ plan for the fourth distribution of the Settlement Fund to Authorized

Claimants is APPROVED. Accordingly,

               a.       The administrative recommendations of the Court-appointed Claims

       Administrator, Epiq Systems, Inc. (“Epiq”), to accept or accept in part the Authorized

       Claims set forth in Exhibits 1, 2, and 3 to the Marr Declaration are approved.

               b.       Epiq shall conduct a “Fourth Distribution” of the Net Settlement Fund as

       follows:

                      i.       Authorized Claimants listed in Exhibit 1 to the Marr Declaration

               shall be paid $15. These Authorized Claimants will receive no additional funds in

               any subsequent distributions.

                     ii.       Authorized Claimants listed in Exhibit 2 to the Marr Declaration

               shall be paid $150. These Authorized Claimants will receive no additional funds

               in any subsequent distributions.

                    iii.       Authorized Claimants listed in Exhibit 3 to the Marr Declaration

               shall be paid their respective pro rata shares, subject to a 40% holdback on all

               claims exceeding $150, which will be held in reserve (the “Reserve”) until the

               participation rate by volume and amount of the Net Settlement Fund are




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       determined. The Reserve may also be used to address any contingencies that may

       arise after the distribution with respect to claims (including any appeals) and/or to

       pay for any Court-authorized future fees or expenses incurred in connection with

       administering the Settlements. To the extent the Reserve is not depleted, the

       remainder will be distributed in a subsequent distribution(s) to Authorized

       Claimants receiving pro rata payments.

       c.      Epiq shall distribute payments to Authorized Claimants entitled to a de

minimis payment ($15), automatic payment ($150), and a single pro rata payment below

$1,000 (i.e., not part of a bulk submission or multiple payments going to a single filer) by

check; Epiq shall distribute payments to Authorized Claimants entitled to pro rata

payments of $1,000 or more in the form of check or wire. Authorized Claimants who

provide deficient wire instructions shall receive a check.

       d.      In order to encourage Authorized Claimants to promptly deposit their

distribution checks, and to avoid or reduce future expenses relating to unpaid distribution

checks, all distribution checks will bear a notation “CASH PROMPTLY; VOID AND

SUBJECT TO RE-DISTRIBUTION IF NOT NEGOTIATED BY [DATE 90 DAYS

AFTER ISSUE DATE].”

       e.      Authorized Claimants who do not negotiate their funds within the time

allotted will be presumed to forfeit any recovery for their respective Claim Forms from the

Settlement Fund. Any forfeited recoveries will become available for re-distribution as part

of subsequent distribution(s), and Authorized Claimants who do not negotiate their funds

will not be eligible to participate in any subsequent distribution(s).




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       4.      This Court retains jurisdiction to consider any further applications concerning the

administration of the Settlements, and such other further relief as this Court deems appropriate.

       IT IS SO ORDERED.



DATED: __________________, 2022
      New York, New York


                                                     HON. LORNA G. SCHOFIELD
                                                     UNITED STATES DISTRICT JUDGE




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